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                               United States District Court
                                       EASTERN DISTRICT OF TEXAS
                                           SHERMAN DIVISION

      CRAIG CUNNINGHAM                                 §
                                                       § Civil Action No. 4:18-CV-118
      v.                                               § (Judge Mazzant/Judge Nowak)
                                                       §
      MARK D. GUIDUBALDI & ASSOCIATES                  §
      LLC d/b/a PROTECTION LEGAL GROUP,                §
      ET AL.                                           §

                                        ORDER OF DISMISSAL

             Came on to be considered this day Plaintiff’s Status Report and Motion to Dismiss without

     Prejudice (Dkt. #57) (“Motion”), wherein Plaintiff advises that he “believes that an automatic stay

     is in place and the Plaintiff should dismiss this case without prejudice and seek his recovery

     through bankruptcy court or in a separate action against the other defendants” (Dkt. #57 at p. 1).

     The Court, having considered the Motion, determines that the Motion should be GRANTED. It

     is therefore,

             ORDERED, ADJUDGED AND DECREED that that all remaining claims Plaintiff

     asserted, or could have asserted, against Defendants in this lawsuit are hereby DISMISSED

.    WITHOUT PREJUDICE.

             All relief not previously granted is hereby DENIED.

             The Clerk is directed to CLOSE this civil action.

             IT IS SO ORDERED.
            SIGNED this 8th day of August, 2019.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
